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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA




                               UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

------------------------------------------------------x
                                                      x   MDL No. 2406
In re Blue Cross Blue Shield                          x
Antitrust Litigation                                  x   Master File No. 2:13-cv-2000-RDP
                                                      x
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                 NATIONAL ACCOUNTS’ REPLY MEMORANDUM
                  IN SUPPORT OF THEIR MOTION TO OPT OUT
                OF THE INJUNCTIVE RELIEF SETTLEMENT CLASS
       OR, IN THE ALTERNATIVE, OPPOSITION TO THE APPROVAL OF THE
                    INJUNCTIVE RELIEF CLASS SETTLEMENT
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                                             Introduction

        Defendants and the Class oppose the motion of the Alaska Air Movants1 (“Movants”) to

opt out of the injunctive relief class or, in the alternative, object to the injunctive relief settlement.

Together, the opposition makes five arguments. Each is without merit.

        First, Defendants assert that class members, as a matter of law, are not allowed to opt out

of an injunctive relief class. The Eleventh Circuit, however, has rejected that position and holds

that the trial court has discretion to grant opt-out rights to injunctive relief class members.

        Second, Defendants and the Class assert that (1) the single-entity defense and (2) common-

law trademark rights prevent the Defendants’ territorial allocation from being “clearly unlawful.”

Thus, Defendants and the Class claim that class members can be compelled to release future claims

against that continuing conduct. This Court, however, has already found there is no genuine

dispute as to facts that dispose of the single-entity defense, as a matter of law. And, even if

individual Defendants previously possessed the common-law trademark rights that Defendants

hypothesize, as a matter of law, the rights of those individual and separate economic actors may

not be placed in the hands of a group of competitors (i.e., BCBSA) to be jointly administered so

as to eliminate individual economic centers of decision-making.

        Third, Defendants and the Class assert that injunctive relief class members are not

inequitably treated relative to each other even though some are allowed to request a second Blue

bid and others are not. Class injunctive relief, however, must be “indivisible” and apply equally

to all class members. If it does not, the injunctive relief class members must be allowed to opt out

of a (b)(2) class. Every case Defendants and the Class cite allowing class members to be treated

differently involved instances in which class members could opt out. Moreover, those cases



1
        See Dkt. # 2812-19, p. 1, n.1.
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involved monetary relief that allowed some class members to receive more money than others

because they had suffered different degrees of injury. None of the cited cases involved a settlement

that granted injunctive relief to some class members but not to others. Furthermore, even if class

members could be given unequal injunctive relief, there is no rational basis for doing so here.

        Fourth, Defendants and the Class deny that the restrictions on second Blue bids protect

Anthem from any significant Blue-on-Blue competition. Their own briefs, however, acknowledge

that only 20 National Accounts in Anthem’s 14-state territory will be able to request a second Blue

bid. Those 20 Accounts represent only 1.9% of the Qualified National Accounts in the proposed

settlement agreement despite the fact that Anthem’s territory covers 33% of the U.S. population.

In other words, Defendants’ and the Class’s own argument demonstrates how the agreement

protects Anthem and disproportionally injures National Accounts located in Anthem’s territory.

Many of the Movants are located in an Anthem territory and seek to opt out of the settlement in

order to pursue their own injunctive relief.

        Fifth, Defendants assert they can breach their arbitration agreements with impunity.

Movants disagree. Defendants should not be rewarded for their breach. Class members with

arbitration agreements should be allowed to opt out of the proceedings in which they should not

have been included in the first place.

                                               Argument

   I.      The Court Has Discretion to Allow Class Members to Opt Out of an Injunctive
           Relief Class

        Defendants claim that class members are not allowed to opt out of a Rule 23(b)(2)

injunctive relief class. Dkt. #2813, p. 5. The Eleventh Circuit, however, holds otherwise. In Cox

v. American Cast Iron Pipe Co., 784 F.2d 1546, 1554 (11th Cir. 1986), the Court stated:




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       A district court acting under its Rule 23(d)(2) discretionary power may require that
       an opt-out right … be given [to Rule 23(b)(2) class members] should it believe that
       such a right is desirable to protect the interest of the absent class members.
       [citations omitted] Such a decision may be reversed only for abuse of discretion.

       In support of this ruling, the Eleventh Circuit relied on Penson v. Terminal Trans. Co., 634

F.2d 989, 994 (5th Cir. 1981). In Penson, the Court stated that “there have been a number of

23(b)(2) class actions in which a district court has provided for notice and opt-out rights to be sent

to the class members” and that such rights “have been implicitly approved by this Court.” See also

Whitson v. Heilig-Meyer Furniture, 1995 U.S. Dist. LEXIS 4312, *56 (N.D. Ala. 1995) (“Both

the former Fifth Circuit and the Eleventh Circuit have held that, in a Rule 23(b)(2) class action …

district courts have discretion to require that class members be given the opportunity to opt out”);

Holmes v. Continental Can Co., 706 F.2d 1144, 1155 (11th Cir. 1983) (holding district court abused

its discretion by not allowing opt-outs from a 23(b)(2) class settlement).2

       Movants respectfully submit that this Court should exercise its discretion and allow them

to opt out of the injunctive relief settlement because the Movants should not be ordered to (1)

release future violations of §1 of the Sherman Act; (2) stay in a (b)(2) class settlement that punishes

them for opting out of the (b)(3) class and treats them unequally relative to other class members;

(3) accept a (b)(2) class settlement that protects Anthem from any significant competition from




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        In support of their contrary position, Defendants rely primarily on Kincaid v. General Tire
& Rubber Co., 635 F.2d 501, 507 (5th Cir. 1981). Kincaid and Penson were decided only seven
days apart. It is clear from Whitson, Cox and Holmes that the Penson view has prevailed in the
Eleventh Circuit. Defendants also rely on Eubanks v. Billington, 110 F.3d 87, 94 (D.C. Cir. 1997).
But there, the court agreed with Penson and Holmes that Rule 23 “affords district courts discretion
to grant opt-out rights in (b)(1) and (b)(2) class actions.” 110 F.3d at 94. Defendants also cite to
Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 362 (2011), for the proposition that Rule 23(b)(2)
does not “require” opt-out rights. Dkt. #2813, p. 5. Movants, however, do not claim that (b)(2)
opt-out rights are “required” – only that the court has discretion to grant them.
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second Blue bids; and (4) participate in a settlement that rewards Defendants for breaching their

contractual arbitration obligations.

   II.      The Defendants’ Territorial Allocation Is Clearly Illegal

         At the preliminary approval hearing, Defendants and the Class conceded that the proposed

settlement could not be approved if the continuation of Defendants’ territorial allocation was a per

se violation of §1 of the Sherman Act. See Dkt. #2812-19 at 13-14. This Court concurred and

stated it was “clear” that if the conduct allowed by the settlement constituted a per se violation,

then the Court “could not approve [it].” Id. at 13. In their response, Defendants and the Class

slightly change their position. Relying on Robertson v. NBA, 556 F.2d 682, 686 (7th Cir. 1997),

they now argue that a court can approve a settlement unless the authorized conduct is “clearly

illegal.” Dkt. #2812-1, p. 64; Dkt. #2813, p. 16. For current purposes, we will assume that the

test is whether the conduct is “clearly illegal.” Regardless of the test, however, a class member

should not be compelled to agree to a settlement if its terms are “invalid as a matter of law.”

Leverso v. Southtrust Bank, 18 F.3d 1527, 1531 (11th Cir. 1994). As explained below, the reasons

advanced by Defendants and the Class for why Defendants’ territorial allocation is not clearly

illegal have no merit.

         A. An Aggregation of Offenses Is Not Required

         Defendants and the Class continue to argue that Defendants’ territorial allocation is per se

unlawful or clearly illegal only if it is aggregated with Defendants’ National Best Efforts Rule.

Dkt. #2812-1 at pp. 65-66; Dkt. #2813 at pp. 16-17. According to Defendants and the Class, such

aggregation is required by U.S. v. Sealy, Inc., 388 U.S. 350, 357 (1967), and the Court’s summary

judgment ruling. 308 F. Supp. 3d at 1261.




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       In U.S. v. Topco Associates, Inc., 388 U.S. 596, 609, n.9 (1972), however, the Supreme

Court explicitly rejected the contention that Sealy required an aggregation of offenses in order to

find that a horizontal territorial trademark allocation is per se unlawful (“To the extent that Sealy

casts doubt on whether horizontal territorial limitations unaccompanied by [other offenses] are per

se violations of the Sherman Act, we remove that doubt today”). Defendants and the Class are

unable to respond to Topco’s dispositive holding and ignore its rejection of their argument. Their

silence concedes the issue.

       Unable to defend their aggregation argument, Defendants and the Class now raise two

additional arguments for why the Defendants’ territorial allocation is not clearly unlawful. First,

the Class argues that the Defendants’ single-entity “affirmative defense” is still alive. Dkt. #2812-

1, p. 66. Second, Defendants argue that pre-existing and separately owned common-law trademark

rights somehow protect them from the clear illegality of Topco’s per se rule. Neither contention

has merit.

       B. Defendants’ Single-Entity Defense Is Deficient as a Matter of Law

       In an about-face, the Class argues that Defendants’ territorial allocation cannot yet be

determined to be clearly unlawful because genuine issues remain as to whether the Defendants

“act as a single economic entity.” Dkt. # 2812-1, p. 66. In making this argument, the Class does

not even assert that Defendants can meet the controlling “single entity” test set forth in American

Needle, Inc. v. NFL, 560 U.S. 183 (2010). That test is whether the conduct in question “joins

together ‘independent centers of decision-making’” that would otherwise pursue “separate




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economic interests” and “if it does, the entities are capable of conspiring under §1….” 560 U.S.

183, 196 (2010).3

       The reason the Class does not argue that the Defendants can meet the American Needle test

is simple: the undisputed facts, as found by this Court, preclude that result, as a matter of law.

Specifically, in determining that Defendants entered into a per se unlawful horizontal agreement

to allocate territories, this Court necessarily found that Defendants are actual or potential

competitors capable of conspiring so as to satisfy the “contract, combination … or conspiracy”

element of §1 Sherman Act. In doing so, the Court held that the undisputed evidence showed that

“the Blue Plans are 36 independent companies,” each of which sell health insurance services; that

each plan is “autonomous in its operations” and a “financially independent entit[y]” with its own

profits and losses; and that Defendants are not “partners or joint venturers.” 308 F. Supp. 3d at

1250. In other words, this Court found that each Defendant is “a separate economic actor pursuing

separate economic interests.” American Needle, 560 U.S. at 196.

       Nonetheless, each of these separate economic actors agreed to become a “member” of the

BCBSA. 308 F. Supp. 3d at 1250. The Rules of the BCBSA are determined by a three-quarters

weighted vote of its members and “each member Plan has agreed to be bound by the Association

Rules.” Id. Importantly, this Court has found that “the undisputed record evidence also reveals

that the Blue Plans control the terms of each Blue’s License Agreement” and that the Defendants

“vote on and approve amendments to the licensing agreements.” Id. at 1267. This Court further



3
       The Supreme Court repeated this test several times: “The key is whether the alleged …
‘conspiracy’ … joins together separate decision-makers” (560 U.S. at 195); “the relevant inquiry
… is whether there is a … ‘conspiracy’ among separate economic actors pursuing separate
economic interests (citation omitted) such that the agreement deprives the marketplace of
independent centers of decision-making … and thus of actual or potential competition” (id.); “the
question is whether the agreement joins together ‘independent centers of decision-making’” (id. at
196) (quoting Copperweld).
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found that each Defendant has entered into a license agreement with the collectively controlled

BCBSA. Id. at 1251. In each of those agreements the BCBSA—owned by the Defendants—

grants to Defendant “an exclusive ‘service area’ where a Member Plan may use the Blue Marks”

and, critically, each member is required to agree with collectively controlled BCBSA that “it may

not use the licensed Marks and Name outside the service area.” Id.

       The determination of where an individual Defendant can compete by offering its BCBS

trademarked services and in what areas it will refrain from competing is not left to the “independent

decision-making” of each licensee or to the independent decision-making of a holder of common-

law trademark rights. 560 U.S. at 195, 196. To the contrary, it is the BCBSA, composed of 36

separate economic interests each with its own interest in preventing competition from other

members, that formulates the rules that govern where and with whom each Defendant can compete.

Clearly, each Defendant is a separate economic actor with its own economic interests to pursue.

By joining together with the other BCBSA members to decide how and where each licensee can

compete, they have “deprive[d] the marketplace of the independent centers of decision-making”

that competition requires. Id. at 196. As a result, Defendants do not, as a matter of law, meet the

single-entity test of American Needle.

       In an effort to avoid this result, the Class asserts that the question is not whether the

Defendants have agreed with each other so as to satisfy the conspiracy element of a §1 claim, but

whether there is a single-entity “affirmative defense” to that cause of action. Dkt. #2812-1, p. 66.

How that affirmative defense would differ from the conspiracy element of a §1 claim is never

explained and, in any event, the assertion is incorrect. The issue decided in both American Needle

and Copperweld was whether the contract, combination or conspiracy element of a §1 claim had

been proved or whether such concerted action was absent because the Defendants acted as a single



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entity.4     Neither case addresses or establishes a single-entity “affirmative defense.”    Even

Defendants acknowledge that the single-entity issue they have raised is whether they have engaged

in concerted action that satisfies the contract, combination or conspiracy element of a §1 Sherman

Act claim. Dkt. #2801, p. 1.

           C. Defendants’ Common-Law Trademark Argument Fails as a Matter of Law

           As Movants have already shown, Topco forecloses Defendants’ “aggregation of offense”

argument. Dkt. # 2812-19, pp. 14-16. In response, Defendants futilely argue that Topco is “readily

distinguishable” because the collectively managed BCBS trademarks originated with separately

owned common-law trademarks. In support of this purported common-law trademark distinction,

Defendants cite to the briefs they previously filed against the provider class.

           According to Defendants, they and their numerous predecessors each owned common-law

trademark rights before those individual rights were consolidated under the collective ownership

of the BCBSA; and, by placing all of those individual rights5 into collective hands, they have done

nothing more than “memorialize existing geographic rights to the Blue marks as those rights

developed and existed at common law.” Dkt. #2728, p. 16, 17 (claiming that the territorial

allocation does nothing more than “merely codify existing rights to use the Blue marks.”).

Defendants then claim that the development of the BCBS common-law marks distinguishes Topco,

because, in that case, the marks did not exist prior to their creation by the association. The

deficiencies in this argument are readily apparent.



4
       See American Needle, 560 U.S. at 188 (“We have only a narrow issue to decide: whether
the NFL respondents are capable of engaging in a ‘contract, combination … or conspiracy’ as
defined by §1 of the Sherman Act”); Copperweld, 467 U.S. at 755 (issue is whether a parent and
subsidiary “are legally capable of conspiracy with each other under §1 of the Sherman Act”).

5
       This Court has already held that in 1982 defendants formed BCBSA and “deliberately
consolidated indisputably separate marks in that entity.” 308 F. Supp. 3d at 1265.
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       First, the existence of these supposed common-law rights is dubious, at best. The provider

class has pointed out that any common-law rights that might have existed were abandoned long

ago. Dkt. # 2747, pp. 10-12. The undisputed evidence shows that in many territories no Defendant

ever had exclusive rights and competing firms used the trademarks in overlapping territories. 308

F. Supp. 3d at 1265. As a result, this Court held that “the validity and/or enforceability of the

[common-law] Marks” is in doubt.6 Id. For current purposes, however, Movants are willing to

assume arguendo that the questionable common-law rights previously existed.

       The individual enforcement of common-law trademark rights, however, is not the

equivalent of Defendants’ collective enforcement of those rights. Common-law trademark rights

give the holder the ability to exclude others from using the mark within a given territory.

Defendants, however, have gone far beyond the grant of that ability to each of them. Through the

BCBSA, Defendants also collectively extract a promise from each other that each will not venture

beyond its borders and compete against other Defendants outside of its territory. 308 F. Supp. 3d

at 1269. The Defendants have even agreed with each other that each can be fined or lose its

individual rights altogether if it tries to break out of its territory and compete against another

Defendant. Id. In other words, Defendants agreed that each ESA would not only be an exclusive

territory, but also a jail – beyond which the Defendants have agreed none will venture. Common-

law trademark rights do not include any comparable right that would allow a group of horizontal

competitors to agree that none of them will go beyond their respective territories to compete

against each other. Thus, the BCBSA does not merely enforce previously owned individual




6
      Defendants inexplicitly state that their argument “does not turn on a final determination of
ownership rights.” Dkt. #2728, p. 18. Defendants do not even attempt to explain how non-existent
common-law trademark rights could ever justify anything.
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common-law rights. It organizes a horizontal group promise that confines each licensee to its own

territory.

        Defendants’ argument that the BCBSA is doing nothing more than enforcing the individual

common-law trademark rights is also at war with the Supreme Court’s ruling in American Needle.

It may be that an individual common-law trademark holder can decide on its own to enforce (or

not enforce) its common-law trademark rights, but it is precisely the abandonment of that

individual decision-making in favor of collective decision-making by a group of competitors that

American Needle holds to be a horizontal agreement among competitors within the meaning of §1

of the Sherman Act. When such a horizontal agreement allocates territories among competitors

using the same trademark, Topco clearly holds that agreement to be per se unlawful.

        In support of their common-law trademark argument, Defendants cite repeatedly to Clorox

Co. v. Sterling Winthrop, Inc., 117 F.3d 50 (2d Cir. 1997), and VMG Enterprises, Inc. v. F.

Quesada & Franco, Inc., 788 F. Supp. 648 (D.P.R. 1992). See, e.g., Dkt. # 2728, pp. 17, 18, 19;

Dkt. # 2756, pp. 12, 13, 18. Both cases, however, merely highlight the legal deficiency in

Defendants’ argument.

        In both Clorox and VMG, an individual trademark holder sued an alleged infringer. The

trademark holder and the infringer were each separate economic entities and made their own

independent decisions as to whether and how to litigate the dispute. In both cases, the alleged

infringer independently decided to admit defeat and agree not to use the trademark to compete

against the plaintiff. It is precisely that individual decision-making by both the plaintiff and the

defendant that is so clearly lacking in this case. Here, it is the Defendants as a group through the

BCBSA that have decided by a 75% vote (1) who will be allowed to use the Blue marks in

exclusive territories and (2) that each Defendant must promise not to expand beyond its own ESA,



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just as in Topco. American Needle clearly holds that the substitution of such collective decision-

making for the independent decision-making of separate economic actors was the critical factor

that caused the NFL’s conduct to be condemned as a horizontal agreement that is not entitled to

single-entity treatment.

       If each individual Defendant still had its hypothesized common-law trademark rights, then

each one of them would independently decide for itself whether to enforce or not enforce those

questionable common-law rights. Thus, two insurance companies, each with an exclusive Blue

territory, might decide to invade each other’s ESA, but each could also independently decide not

to object to the competition or to file suit. 308 F. Supp. 3d at 1253 (finding two plans had invaded

each other’s territory but “neither plan objected to the competition”). Each might be happy to let

the other into its territory so long as it could expand beyond its own borders. Different Defendants

exercising the hypothesized individual common-law rights would make different independent

decisions – some more aggressive, some less so. Different settlements between them would be

struck, some allowing expansion into another’s territory. What is certain is that all of these events

would be determined by separate economic entities making their own independent decisions so as

to best serve their individual interest. What is equally certain is that Defendants through their

collective control of the BCBSA have eliminated that individual decision-making and replaced it

with the group decision-making through the BCBSA. Under American Needle, that group

decision-making cannot, as a matter of law, constitute the conduct of a single entity.7 Thus, the



7
       Citing American Needle at 560 U.S. at 195, 200, Defendants assert that “the dispositive
question in a single-entity inquiry is whether individual participants in the alleged agreement could
perform the relevant function unilaterally.” Dkt. # 2801, p. 8. The function performed by the
conduct alleged to be unlawful in this case, however, is preventing 36 independent competitors
from competing in any of the other Defendants’ territories. That is not a function that can be
achieved unilaterally. It is a decision that necessarily must be made by each of the 36 separate


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Defendants’ conduct is not codifying individually owned common-law rights. It is the transfer of

those rights to a collectively controlled horizontal group which, according to American Needle,

eliminates the independent decision-making by competitors that is required by market competition.

    III.      The Injunctive Relief Settlement Does Not Treat Class Members Equitably
              Relative to Each Other

           A. The Injunctive Relief Is Not Indivisible

           In Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011), the Supreme Court held that

claims for individualized relief cannot be certified for class treatment under Rule 23(b)(2) (“claims

for individualized relief ... do not satisfy the Rule”). The Court further held that the “combination

of individualized and class-wide relief in a (b)(2) class is also inconsistent with the structure of

Rule 23(b).” Id. at 361. Instead, the Court stated that “the key to the (b)(2) class is the ‘indivisible

nature of the injunctive or declaratory remedy’” and held (id. at 360):

           Rule 23(b)(2) applies only when a single injunction … would provide relief to each
           member of the class. It does not authorize class certification when each individual
           class member would be entitled to a different injunction … against the defendant.

           As a result, the Court held that class injunctive relief under Rule 23(b)(2) is appropriate

only when the relief is “indivisible benefiting all members at once” (id. at 362) and “respecting

the class as a whole.” Id. at 360. The Court further held that it is precisely because (b)(2) injunctive

relief is indivisible that opt-out rights from the injunctive relief class are not necessary. Id. at 362




competitors in concert with the other 35 participants. Furthermore, the cited pages of American
Needle do not support Defendants’ assertion. To the contrary, at 560 U.S. at 195, the Supreme
Court states: “The key is whether the alleged … conspiracy is concerted action, that is whether it
joins together separate decision-makers” and that “the relevant inquiry, therefore, is whether there
is a … conspiracy among ‘separate economic actors pursuing separate economic interests’ [citation
omitted] such that the agreement deprives the marketplace of independent centers of decision-
making.” At 560 U.S. at 200-01, American Needle states that agreements made by the members
of an association “constitute concerted action covered by §1 when the parties to the agreement act
on interests separate from the firm itself.”
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(holding that claims for individualized relief “belong in Rule 23(b)(3)” and that “the right to opt

out” is absent from Rule 23(b)(2) because the “class seeks an indivisible injunction benefiting all

its members at once.”).

       The injunctive relief provided by the proposed settlement violates the requirements of

Dukes. The injunctive relief is not “indivisible” as it grants the right to request a second Blue bid

to some but not to others and does not apply to the class “as a whole.” Indeed, the Settlement

acknowledges the divisible nature of the injunctive relief by depriving Qualified National

Accounts who opt out of the damages class the injunctive relief to which they otherwise would

have been entitled under the agreement. The injunctive relief here is further “individualized,” as

it is based on individual criteria such as dispersion rates, whether the class member is a Taft-

Hartley or Church Plan or whether it is headquartered in a state in which two Defendants operate.

Where the (b)(2) relief is “individualized” and is not “indivisible,” Dukes holds that opt-out rights

are required, and, even if they were not required, this Court should exercise its discretion to allow

the Movants to opt out of a proposed (b)(2) class settlement that grants greater individualized rights

to others than it does to the Movants. In the alternative, the Court should reject the settlement as

neither fair, reasonable, nor adequate because it does not treat all class members equitably relative

to each other as required by Rule 23(e)(2)(D).

       Despite the foregoing, Defendants and the Class insist that they can cram down the

individualized injunctive relief on a non-opt-out (b)(2) class if they can hypothesize a rational

justification. As explained above, this premise is incorrect. Rule 23(b)(2) provides no authority

for imposing individualized relief in a non-opt-out class. And, as explained below, the Defendants

and Class also have no rational basis for the gerrymandered second Blue bid settlement provisions.




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       B. The Injunctive Relief Does Not Treat Class Members Equitably Relative to Each
          Other

           1. Defendants and the Class Rely on Inapposite Authority

       Defendants and the Class cite a series of cases for the proposition that injunctive relief class

members are treated equitably relative to each other if there is a “rational and legitimate” basis for

the different treatment. Dkt. # 2813 at pp. 18, 22; Dkt. # 2812-1, pp. 77-79. Each of these cases,

however, is clearly inapposite as every one of them addresses the allocation of monetary relief to

class members who suffered varying degrees of loss.8 It is obviously not inequitable to allocate

more of a monetary fund to those who have lost more money and, in any event, class members can

opt out if they object to their allocated amount. None of the cited cases involve a non-opt-out

injunctive relief class in which every class member claims that the same conduct is unlawful, but

the class settlement prohibits that conduct as to some class members but not as to others. Such

individualized and divisible injunctive relief without the right to opt out is not permitted by Dukes.




8
        See Lurns v. Russell Corp., 604 F. Supp. 1335, 1336 (M.D. Ala. 1984) (two class members
allowed to opt out to pursue their own monetary relief and a third was allocated $2,000 out of the
settlement fund, which the court found “fair”); Pedraza v. United Gar. Corp., 2001 WL 37071199
at *7 (S.D. Ga. 2001) (higher monetary award for named class representatives was rational because
they diligently pursued the case and expended substantial resources to advance them); Petrovic v.
American Oil Co., 200 F.3d 1140, 1146 (8th Cir. 1999) (different award of damages to class
members warranted because the extent of their injury was different); In re American Bank Note,
127 F. Supp. 2d 418, 429-30 (S.D.N.Y. 2001) (greater allocation of monetary settlement fund
awarded to those with stronger securities claims); In re Paine Webber, Ltd., 171 F.R.D. 104, 133
(S.D.N.Y. 1997) (objection to plan of allocation of monetary fund rejected based on different
strength of different claims); Swinton v. SquareTrade, Inc., 2019 WL 617791 at *8 (S.D. Iowa
2019) (allocation of monetary award based on differing strength of claims held fair because there
is no requirement that every class member receive the same monetary award); Radcliffe v.
Hernandez, 794 F. App’x 605, 607 (9th Cir. 2019) (greater distribution of monetary fund to class
members who suffered greater actual harm approved); Hall v. Accolade, Inc., 2019 WL 3996621
at *5 (E.D. Pa. 2019) (allocation of monetary fund based on different strength of different claims
approved).
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            2. There Is No Rational Basis for the Unequal Injunctive Relief

        Even if the law did allow class members asserting the identical legal claim to receive

different levels of injunctive relief – and it does not – there is no rational or legitimate basis for

the criteria that Defendants and the Class have agreed to employ in this case.

                a. Opt-outs from the monetary relief class are denied second Blue bids

        The settlement agreement provides that class members who exercise their constitutional

right to opt out of the (b)(3) monetary relief class are to be punished by losing their right to request

a second Blue bid. Defendants and the Class offer no rational basis for this provision – not even

a pretextual or baseless one. It is plainly intended to serve an in terrorem function so as to dissuade

and punish class members from exercising their constitutional rights.

        Instead of attempting to justify this provision, Defendants and the Class argue that it really

is not so bad, because (b)(3) opt-outs are allowed to file suit and prove that the territorial allocation

is illegal, in which event the opt-out will get the right to request one additional Blue bid if it meets

all the other second Blue bid requirements of the settlement. In other words, the opt-outs can go

to court and win the case on the merits in order to get what other class members get simply by not

opting out of the (b)(3) class. Worse, by winning the case on the merits, the opt-out will only be

able to request one additional Blue bid instead of the 35 additional bids to which it should be

entitled if it wins the case. It is hardly surprising that Defendants and the Class make no attempt

to justify this punitive and unwarranted settlement provision.

        The settlement as presented to this Court for preliminary approval was even worse. It did

not even allow (b)(3) opt-outs to file suit and win what others were granted by staying in the (b)(3)

class. After preliminary approval, and after Movants complained in writing to sub-class counsel,

this constitutionally offensive provision was hastily amended in the long form notice to add the



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right of opt-outs to go to court and win the right to request one additional Blue bid. Plainly, the

parties got caught with their hand in the cookie jar – and they knew it. Their belated attempt to

make the settlement appear less oppressive fails. There is no rational or legitimate reason to make

(b)(3) opt-outs litigate for years to win the relief that goes to others without a fight. The basis for

this revised provision is the same as the original provision – to punish class members for exercising

their constitutional right to opt out of the (b)(3) class. This provision is obviously impermissible.

Movants should be allowed to opt out of the injunctive relief settlement that imposes on them such

blatantly inequitable and unlawful conditions.

               b. The dispersion requirement has no rational basis

       In order to request a second Blue bid, a National Account must satisfy the dispersion

requirement – meaning that approximately 70% of the plan members reside outside the state of the

National Account’s headquarters. Defendants admit that this results in less than a third of all

National Account plan members receiving the injunctive relief. All others are precluded from

seeking a second Blue bid.

       The Defendants attempt to justify this unequal treatment of different National Accounts by

arguing that plans with less dispersion (1) have more insurance options because they can obtain

insurance services from local and regional insurers and (2) plans with more dispersion will benefit

more from receiving a second Blue bid. Defendants are incorrect for two reasons.

       First, whether one class member will benefit more or less from the class relief has no

relevance to whether the class members are treated equitably relative to each other. If two class

members each suffer $100 of money damage, they cannot be given different amounts of relief

because one is poorer than the other and would benefit more from the recovery. Defendants cite




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no case that supports their contention that class members can be awarded different relief based on

how much they will benefit from that relief – and Movants are aware of no such case.

       Second, the Defendants’ dispersion argument is factually baseless. Defendants offer no

support for their conjecture that large National Accounts can avail themselves of local and regional

insurance providers and, therefore, have more insurance options and benefit less from a second

Blue bid. Large National Accounts have tens of thousands or hundreds of thousands of plan

members who are located all over the United States. Such accounts are unable to use local and

regional insurers precisely because they are national accounts. Local and regional insurers cannot

service National Accounts because those insurers do not do business where thousands upon

thousands of the National Account’s plan members are located. The percentage of those plan

members who are “dispersed” – i.e., located outside of the headquarters state of the National

Account – is irrelevant to the inability of the local and regional insurers to service the account.

Thus, contrary to the Defendants’ argument, the less disperse National Accounts do not have more

local and regional options and do not benefit less from a second Blue bid. Tellingly, Defendants,

themselves, admit that local and regional insurers “are not viable options for true national

employers.” Dkt. #2813, pp. 20-21. This express admission completely destroys Defendants’

attempt to justify the dispersion requirement – even if it was relevant.

               c. The dispersion requirement protects Anthem from Blue-on-Blue
                  competition

       Anthem is the largest health insurer in the U.S. and has been judicially determined to

possess market power in the National Accounts market. Dkt. # 2812-19, p. 23. In Movants’

opening brief, we explained that because Anthem’s ESA covers 14 states and one third of the U.S.

population, it would be difficult for a National Account in an Anthem territory to have 70% of its




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plan members located outside of Anthem’s 14-state region – which means that Anthem is “unlikely

to face any significant competition from second Blue bids.” Dkt. # 2812-19, p. 23.9

       Defendants and the Class have responded that we are proven wrong by the fact that 20

National Accounts in Anthem’s 14-state ESA will be able to request second Blue bids. Dkt. #

2812-1, p. 86; Dkt. # 2813, p. 22.10 Their argument actually proves our point. The fact that only

20 of the 1,038 Qualified National Accounts are Anthem accounts demonstrates that the settlement

protects Anthem and disproportionally injures National Accounts in Anthem’s territory. From a

statistical perspective, how else could only 1.9% of the Qualified National Accounts be in

Anthem’s territory, which includes 33% of the U.S. population? Stated differently, of the 1,038

National Accounts that qualify for a second Blue bid under the settlement, 98.1% of them are

located outside of Anthem’s territory.11 The proposed settlement agreement plainly shields

Anthem from any significant competition from second Blue bids.



9
        The Class faults Movants for making “a significant factual misstatement” (Dkt. # 2812-1,
p. 86) in asserting that “no account headquartered in an Anthem state would be able to meet the
dispersion requirement and receive a second Blue bid.” Id. The Class makes this accusation by
quoting our brief out of context. The full sentence, which the Class partially quotes, states:
“Assuming that the National Account’s employees are apportioned throughout the United States
in proportion to the population, no account headquartered in an Anthem state would be able to
meet the dispersion requirement and receive a second Blue bid.” Dkt. # 2812-19, p. 22. That
statement is 100% correct.
10
        None of the 20 Accounts are large. A few of them are mid-sized (i.e., Dollar Tree, and
Abercrombie and Fitch), but most of them are small accounts.
11
        Defendants and the Class, with access to the discovery record, could easily have reported
the total number of Anthem’s National Accounts which would allow one to calculate the percent
of Anthem’s National Accounts that will be able to request a second Blue bid and the percent that
will be shielded from that competition. Tellingly, Defendants and the Class have chosen not to
report that number. We know, however, that Anthem’s National Accounts include approximately
7,700,000 members (Anthem 2020 Annual & Corp. Responsibility Rep., Financial and
Membership Highlights, customer type). We also know that the industry average for National
Accounts is approximately 27,500 members. One can therefore estimate that Anthem has
approximately 280 National Accounts. The 20 Anthem National Accounts that can request a
second Blue bid, therefore, represent only 7% of the estimated total – meaning that a full 93% of
Anthem’s National Accounts will be unable to request a second Blue bid.
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               d. There is no rational basis to exclude the Taft-Hartley or Church Plans

       Each Taft-Hartley and Church Movant is one single entity. The plan may be composed of

employees from hundreds of churches or be a multi-employer union plan, but it is one entity that

signs an ASO contract with a Defendant. Each of those class members is categorically denied the

ability to ask for a second Blue bid.12

       Defendants and the Class attempt to justify the exclusion of the Taft-Hartley and Church

Movants by arguing that the participating unions and churches could have remained separate and

not joined with others to purchase ASO services through a single entity. In other words, Defendants

and the Class do not explain why the Taft-Hartley or Church Movant should be categorically

excluded from requesting a second Blue bid. Instead, they simply hypothesize that the Taft-

Hartley or Church Movants need not exist. But federal law recognizes the authority to form such

entities, which play a critical role in providing health care benefits to union members and

Churches. Furthermore, the criticism that the Taft-Hartley and Church entities need not exist could

also be made of corporate class members where the purchasing entity is composed of employees

of multiple subsidiaries of the corporate sponsor. Defendants and the Class have no authority to

simply imagine that a single-entity union and Church purchaser does not exist or might be

structured differently than it is (and differently than how it contracts with a Defendant) and then

justify its unequal treatment based on that counterfactual hypothesis. The legal obligation is to

treat all class members equitably relative to each other – not relative to some non-existent form

which they could have, but have not taken.



12
       Section A.1(z) of the proposed settlement states that “Taft-Hartley trusts … are not
Employers” for the purpose of determining whether they can seek a second Blue bid. Section
1.A(sss) of the proposed settlement measures the membership of eligible plans by Dun &
Bradstreet (“D&B”) data. D&B does not measure the membership/employees of the Church Plans.


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                e. There is no rational basis to deny second Blue bids to class members in
                   states with overlapping Defendants

         Class members located in States where two Defendants operate are categorically denied

the ability to request an additional Blue bid. According to Defendants, it is equitable to deny an

additional Blue bid to these class members, even though such benefits are given to others. The

only justification offered by Defendants or the Class is that class members in States where two

Defendants operate can already ask both of them for bids. The antitrust claim in this case, however,

is that every class member should be allowed to request 36 Blue bids. The settlement provides

limited relief from this allegedly illegal conduct. There is no basis for denying that relief for the

alleged violation to class members located in states in which two Defendants operate. If other

class members receive some relief from the allegedly illegal conduct, then these class members

should, too. No equitable purpose is served by granting this relief to some while completely

denying it to others. The only purpose served by this provision is the Defendants’ desire to

minimize Blue-on-Blue competition. That desire, however, hardly justifies discriminating against

disfavored class members.

   IV.      The Failure to Provide Any Relief From the Local Best Efforts Rule Is Neither
            Fair, Reasonable, Nor Adequate

         In our opening brief, Movants demonstrated that the preservation of the Local Best Efforts

rule will allow Defendants to offer green bids to small employers in their ESA, but not large

employers. Dkt. # 2812-19, pp. 29-30. In response, Defendants and the Class argue that this

inequitable result will not occur because Defendants will not offer any green bids at all – to large

or small accounts – in their home states. See Dkt. # 2813, p. 23; Dkt. # 2812-1, pp. 89-90. If true,

this response proves too much. If no Defendant would make such a green offer in its home state,

why do Defendants need a horizontal agreement to prevent themselves from doing what they claim



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none of them would do anyway? Furthermore, if the horizontally agreed-to rule serves no purpose,

then why have Defendants not surrendered that output restriction in the settlement? Obviously,

Defendants are fighting to hold onto the restraint – precisely because it serves the anticompetitive

and inequitable purpose that Movants advance.

        Further, Movants have demonstrated that due to the Local Best Efforts Rule, a Defendant

cannot offer a green bid to a National Account that has a large number of plan members in

Defendant’s home state. Dkt. # 2812-19, pp. 29-30. If a Defendant does so, then it will push down

the percentage revenue received from Blue plans in its home state and violate the Local Best

Efforts Rule. The Class responds by stating that if a Defendant enters into a green contract with

an out-of-state employer, then the revenue generated by the in-state employees of that employer

does not count against the 80% in-state Local Best Efforts requirement. The Class is unable to

cite to anything in support of this contention (Dkt. # 2812-1, p. 91), and Defendants make no such

assertion. Movants specifically asked the Defendants, in writing, if we accurately described how

green competition and the Local Best Efforts Rule would work under the settlement. See Dkt. #

2812-19, p. 30, n.31. Defendants have not responded and their silence confirms our understanding.

Under the settlement, Defendants cannot offer green bids to National Accounts if the revenue

attributable to covered employees in the home state of Defendant will push the in-state Blue

revenue below the 80% level. This seriously limits the procompetitive effect of the green

competition and prejudices large National Accounts with significant numbers of employees in the

home state of the Defendant.

   V.      Defendants Have Breached Their Arbitration Agreements

        Some of the Defendants have entered ASO agreements with class members that require

arbitration of any dispute relating to the agreement. Dkt. # 2812-19, p. 31. Some of those



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agreements also explicitly prohibit participation in any class action. Id. In clear breach of those

contractual obligations, Defendants have entered into a settlement agreement that requires the class

members to stay in a non-opt-out class action in Court.

       Defendants and the Class offer no credible excuse for this clear breach of contract and the

cases they cite for the proposition that a class member with arbitration rights can be forced to stay

in a non-opt-out class do not even remotely support that proposition.13 Instead, they argue that

they should be able to force National Accounts, who have contractual rights not to be in court or

in a class, into the non-opt-out (b)(2) class. Defendants should not be rewarded for breaching their

contractual obligations. Movants with arbitration provisions should be allowed to opt out of the

(b)(2) class in which they should never have been placed.

       Defendants are also incorrect when they argue that class members with arbitration rights

may be forced into court by Defendants with whom they have not contracted. In the Eleventh




13
        See Def. Br. at 7-8, Dkt. # 2813, pp. 7-8. In Citigroup, Inc. Sec. Litig., 2014 WL 3610988
(S.D.N.Y. 2014), the arbitration plaintiffs were not forced against their will into a non-opt-out
class. They were given notice and the right to opt out, but failed to do so. Id. at *16. In Belasanyan
v. Nordstrom, Inc., 2012 WL 1944609 (S.D. Cal. 2012), the court denied defendants’ motion to
compel arbitration. No class member was precluded from opting out of anything. In Soc’y of Prof.
Eng’g v. Boeing Co., 2015 WL 13643720 (D.. Kan. 2015), the class settlement released contract
claims. No arbitration issue or non-opt-out issue was even presented. In DeHoyos v. Allstate
Corp., 240 F.R.D. 269 (W.D. Tex. 2007), the class released contract claims. Neither opt-out rights
nor arbitration are even mentioned. Stott v. Cap. Fin. Serv., Inc., 277 F.R.D. 316, 341 (N.D. Tex.
2011), is a limited funds case certified under Rule 23(b)(1)(B), in which other proceedings were
enjoined to protect an inadequate fund so as to make it equally available to all claimants. In In re
Checking Acct Overdraft Litig., 2020 WL 4586398 (S.D. Fla. 2020), defendant’s motion to compel
arbitration was denied because plaintiffs did not agree to arbitrate. The court certified a (b)(3)
class with opt-out rights and no class member was compelled to stay in non-opt-out class. In
Swinton, the court denied defendant’s motion to compel arbitration and defendant then settled the
case. Class members were allowed to opt out of the settlement and no one was forced to stay in a
non-opt-out class. Brown v. Price, 2017 WL 4698025 (D. Or. 2017), is another limited fund case
where the money available was inadequate to pay all the claims and a Rule 23(b)(1)(B) class was
certified to protect the limited fund for fair distribution to all. No one objected to the amount of
the settlement or the inability to opt out.
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Circuit, if a claim alleges interdependent or concerted conduct closely related to a contract that

includes an arbitration obligation, the arbitration obligation applies to all Defendants. See, e.g.,

Northrop & Johnson Yacht-Ships, Inc. v. Royal Von Lent Shipyard, B.V., 855 Fed. App’x 468, 474,

n.4 (11th Cir. 2021) (a non-party to an arbitration agreement may be subject to its terms “when the

plaintiff-signatory alleges substantially interdependent and concerted conduct by the signatories

and non-signatories, and such misconduct is founded in or intimately connected with the

obligations of the underlying agreement”). Thus, the class members with arbitration agreements

should be allowed to opt out of this litigation against all Defendants.

   VI.      Movants’ Motion to Intervene Should Be Granted

         Out of an abundance of procedural caution, Movants have requested to intervene in this

matter in order to insure that our motion to opt out of the (b)(2) class settlement will be heard on

the merits – regardless of how the Court rules on the motion for final approval of the class

settlement. In response, Defendants assert that the motion to intervene should be denied because

Movants “have no right to opt out of a mandatory (b)(2) class.” Dkt. # 2813, p. 9. Defendants’

argument is pure tautology – and it is based on an incorrect proposition of law. As Movants have

already shown, this Court has discretion to allow Movants to opt out of the (b)(2) class and Dukes

suggest that when the injunctive relief is divisible, Movants must have the right to opt out.

Whether the Court should exercise that discretion should be decided on the merits and the Court

should grant our motion to intervene to procedurally insure that it will be.

                A. Movants Meet the Requirements for Mandatory Intervention

         Defendants do not dispute that the Motion to Intervene was timely filed and that Movants

have an interest in the subject matter of the dispute. Defendants deny, however, that the settlement

agreement “may as a practical matter impair or impede [Movants’] ability to protect [their]



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interest.” Dkt. # 2813, pp. 9-10. The settlement, however, forces Movants to release their

injunctive relief claims and accept settlement terms that treat them unequally and punishes them

for exercising their legal right to opt out of a (b)(3) class settlement. It is frivolous to assert that

forcing Movants to stay in the (b)(2) class against their will not impair their ability to protect their

own interests. See Technology Training Associates v. Buccaneers Ltd. P’ship, 874 F.3d 692, 696-

97 (11th Cir. 2017) (holding that the “impair or impede” element of a Rule 24(a)(2) motion is

satisfied by “the risk the movants will be bound by an unsatisfactory class action settlement” and

stating as a general rule, class members should be allowed to intervene). The decision in Grilli v.

Metro Life Ins. Co., 78 F.3d 1533, 1536 (11th Cir. 1996), cited by Defendants, is not to the contrary.

In Grilli, the rights of the party moving to intervene were not impaired because he had opt-out

rights and could simply exit the class and pursue his own claim. Here, the opposite is true.

Movants are denied the right to opt out of the settlement class, are forced to release their claims,

and are prevented from protecting their own rights.

        Defendants also assert that Movants fail the “inadequate representation” element of

mandatory intervention. Defendants do not dispute that the “burden of making that showing

should be treated as minimal,” (Chiles v. Thornburgh, 865 F.2d 1197, 1214 (11th Cir. 1989), or

that the “mere existence of colorable adequacy issues” is sufficient. Lopez v. Progressive Select

Ins. Co., 2020 WL 763571, *2 (S.D. Fla. 2020). Here, the proposed sub-class representative and

its counsel, who were both undisclosed to the Movants until minutes before the motion to approve

the class settlement was filed, has negotiated a settlement that provides for substantially less

favorable and unequal treatment of Movants than other sub-class members. Indeed, a number of

the Movants, including all of the Taft Hartley and Church Movants, are denied any right under the

settlement to request a second Blue bid, which is a benefit that is afforded to the proposed class



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representative.     These inequities between the relief offered to the class representative and the

Movants are more than sufficient to satisfy Movants’ “minimal burden” that they are not

adequately represented.

                  B. Movants Meet the Requirements for Permissive Intervention

        Permissive intervention is allowed to any party with a claim that shares a common question

of law or fact with the main action. Chiles, 865 F.2d at 1213. Defendants’ only basis for opposing

permissive intervention is the conclusory statement that “intervention would cause both prejudice

and delay.” Dkt. # 2813, p. 11. Defendants make no attempt to explain what prejudice or delay

they would suffer. Allowing Movants to intervene to file a motion that they have already filed and

to which Defendants and the Class have already responded and which, in any event, is filed in the

alternative as an Objection – will obviously delay nothing. Nor is it conceivable that Defendants

will suffer prejudice if the Motion to Intervene is granted. The most that will happen is that the

Movants’ request to opt out of the (b)(2) class is decided on the merits.

        Defendants’ opposition to the Motion for permissive intervention is without merit and the

Motion should be granted. The elements for mandatory intervention have also been met. Either

basis justifies intervention.

                                             Conclusion

        For all of the foregoing reasons, the National Account Movants respectfully request that

the Court grant their motion to opt out of the Rule 23(b)(2) class settlement or, in the alternative,

deny approval to the proposed injunctive relief settlement.




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Dated: September 27, 2021    Respectfully submitted,

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                             Welfare Benefit Plan; Alaska Air Group, Inc. Welfare
                             Benefit Plan; Horizon Air Industries, Inc.; Horizon Air
                             Industries, Inc. Welfare Benefit Plan; Employee Benefit Plan
                             for Employees of Horizon Air Industries, Inc.; Employee
                             Benefit Plan for Full-Time and Part-Time Employees
                             Horizon Air Industries, Inc.; Big Lots, Inc.; Big Lots
                             Associate Benefit Plan; Conagra Brands, Inc.; ConAgra
                             Foods, Inc. Welfare Benefit Wrap Plan; FedEx Corporation;
                             The Federal Express Corporation Group Health Plan; The
                             FedEx Corporation Group Health Plan; Kellogg Company;
                             Kellogg Company Welfare Benefit Plan; McLane Company,
                             Inc. McLane Company, Inc. Welfare Plan; Meijer Inc.
                             including its affiliates Meijer Great Lakes LP, Meijer Stores
                             LP, and Town Total Health LLC; Meijer Health Benefits
                             Plan; Publix Super Markets, Inc.; Publix Super Markets,
                             Inc. Group Health Benefit Plan; United Natural Foods, Inc.,
                             including its affiliates SUPERVALU, INC.. and Unified
                             Grocers, Inc. (“UNFI”); UNFI Health and Welfare Plan;
                             Indiana/Kentucky/Ohio Regional Council of Carpenters
                             Welfare Fund; Ohio Carpenters Health Fund; SEIU Local 1
                             & Participating Employers Health Trust; The Local No. 1
                             Health Fund; Plumbers’ Welfare Fund, Local 130, U.A.;
                             The Sheet Metal Workers Local 73 Welfare Fund; Chicago
                             Painters and Decorators Welfare Fund; The Carpenters and
                             Joiners Welfare Fund; Heartland Health & Wellness Fund;
                             GuideStone Financial Resources of the Southern Baptist
                             Convention; The Church Pension Group (Episcopal);
                             General Board of Pension and Health Benefits of the United
                             Methodist Church; Concordia Plan Services (the Missouri

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                       Synod Lutheran Church’s benefit board); Portico Benefits
                       Services (the Evangelical Lutheran Church in America’s
                       benefit board); Christian Brothers Services (a church plan
                       benefits board created by the Christian Brothers religious
                       order); The Board of Pensions of the Presbyterian Church
                       U.S.A.

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                       Committee of The Boeing Company, as the plan
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                       Master Welfare Benefit Plan; Bridgestone Americas, Inc.;
                       Bridgestone Americas, Inc. Employee Group Insurance
                       Plan; Bridgestone Americas, Inc. Retiree Medical Plan;
                       CHS/Community Health Systems Inc.; Community Health
                       Systems Group Health Plan; Dollar General Corporation;
                       Dollar General Health Plan (a component of the Dollar
                       General Corporation Employee Benefits Plan); FedEx
                       Corporation; The Federal Express Corporation Group
                       Health Plan; The FedEx Corporation Group Health Plan;
                       Tractor Supply Company; Tractor Supply Company Health
                       & Welfare Plan


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                       Welfare Benefit Plan; Alaska Air Group, Inc. Welfare

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                       Benefit Plan; Horizon Air Industries, Inc.; Horizon Air
                       Industries, Inc. Welfare Benefit Plan; Employee Benefit Plan
                       for Employees of Horizon Air Industries, Inc.; Employee
                       Benefit Plan for Full-Time and Part-Time Employees
                       Horizon Air Industries, Inc.; Big Lots, Inc.; Big Lots
                       Associate Benefit Plan; BNSF Railway Company;
                       Burlington Northern Santa Fe LLC (f/k/a Burlington
                       Northern Santa Fe Corp.); Burlington Northern Santa Fe
                       Group Benefits Plan; Burlington Northern Santa Fe
                       Corporation Welfare Benefit Trust; The Burlington
                       Northern Santa Fe Employee Benefits Committee for the
                       Burlington Northern Santa Fe Corporation Group Benefits
                       Plan; FedEx Corporation; The Federal Express
                       Corporation Group Health Plan; The FedEx Corporation
                       Group Health Plan; McLane Company, Inc.; McLane
                       Company, Inc. Welfare Plan


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                       L.P., Albertson’s LLC, New Albertson’s Inc., and Safeway
                       Inc..; Albertsons Companies, Inc. Health and Welfare Plan,
                       f/k/a Albertson’s LLC Health & Welfare Plan; New
                       Albertson’s Inc. Health and Welfare Plan; Hy-Vee Inc.;
                       Hy-Vee and Affiliates Benefit Plan and Trust; The Kroger
                       Co., 84.51 LLC, and Murray’s Cheese LLC; The Kroger
                       Co. Health and Welfare Benefit Plan; 84.51, LLC Health &
                       Welfare Plan; Walgreens Co.; Walgreen Health and
                       Welfare Plan (Plan No. 501) f/k/a Walgreen Major Medical
                       Expense Plan




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